                    IN THE UNITED STATES DISTRICT COURT FOR
                       THE EASTERN DISTRICT OF TENNESSEE
                             GREENEVILLE DIVISION


UNITED STATES OF AMERICA                               )
                                                       )
v.                                                     )       No. 2:08-CR-039
                                                       )
BOBBY JOE AMBROSE                                      )

                               MEMORANDUM AND ORDER

               This criminal case is before the court on the January 23, 2013 supplemental

report and recommendation (“supplemental R&R”) [doc. 374] of Chief United States

Magistrate Judge Dennis H. Inman. By order dated January 17, 2013, the undersigned

referred the defendant’s previously-denied suppression motion [doc. 127] to the magistrate

judge for supplemental findings pursuant to the partial remand of the Sixth Circuit Court of

Appeals.1

               Magistrate Judge Inman has now made those supplemental findings and again

recommends that the defendant’s suppression motion be denied. The February 11, 2013

deadline for filing objections to the supplemental R&R has now passed without response.

               De novo review by the district court of a magistrate judge’s report and

recommendation is both statutorily and constitutionally required. See United States v. Shami,

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          “[A] remand is required for the limited purpose of the district court making further findings
on [three] unresolved matters regarding Ambrose’s apartment (initial entry, search allegedly at Mrs.
Ambrose’s request, second search in Mrs. Ambrose’s absence). . . . In the event the district court
determines the officers exceeded the warrant’s scope [in respect to these unresolved matters], it
should determine whether blanket suppression is warranted and, if so, how suppressing all of the
evidence affects Ambrose’s convictions and sentence.” United States v. Beals, 698 F.3d 248, 268
(6th Cir. 2012).


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754 F.2d 670, 672 (6th Cir. 1985). However, it is necessary only to review “those portions

of the report or specified proposed findings or recommendations to which objection is made.”

28 U.S.C. § 636(b)(1).

              Even though no objection has been filed, the undersigned has nonetheless

thoroughly reviewed the original R&R, the supplemental R&R, the defendant’s motion, the

parties’ original briefing, the Sixth Circuit’s partial remand opinion, the transcript of the

original motion hearing, and all other relevant contents of the docket. Having done so, the

court finds itself in agreement with the magistrate judge that the testifying officers “were

truthful regarding their actions regarding all three areas of inquiry set out in the Court of

Appeals’ decision. Accordingly, it is not necessary to address the issue of whether a blanket

suppression of the incriminating evidence found in the garage is appropriate.”

              The court ADOPTS the findings of fact and conclusions of law contained in

the supplemental R&R [doc. 374]. It is ORDERED that the defendant’s motion to suppress

[doc. 127] is again DENIED.

              IT IS SO ORDERED.

                                                         ENTER:



                                                                 s/ Leon Jordan
                                                            United States District Judge




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